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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA

AUGUSTA DIVISION

UNITED STATES OF AMERICA ) \.
v. INDICTMENT NO.

CHARLES KING

1172-ANH@
CR118-0082
MOTION TO SEAL INDICTMENT

The United States of America, by and through Bobby L. Christine, United
States Attorney for the Southern District of Georgia, and the undersigned Special
Assistant United States Attorney, respectfully moves the Court, pursuant to Fed. R.
Crim. P. 6(e)(4), to seal the above-styled indictment until such time as the defendant
is in custody or has been released pending trial.

WHEREFORE, the government moves that the above-styled indictment, and
all process issued thereunder, be sealed until further Order of this Court, excepting
only such disclosures as necessary to effect service of process.

Respectfully submitted this TO day of December 2018.

 

BOBBY L. CHRISTINE
UNITED STATES ATTORNEY

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Michael A. Marchman Jr.

Special Assistant United States Attorney
New York Bar No. 5531843

United States Attorney’s Office
Southern District of Georgia

Post Office Box 2017

Augusta, Georgia 30903

T: (706) 826-4525
michael.marchman@usdoj.gov

 
